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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MINNESOTA


In re:                                             Bky. No.: 15-40068

Julie Ann Holm,                                    Chapter 7

                               Debtor.


                           NOTICE OF HEARING AND
                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY


To:      The Debtor, Julie Ann Holm; Nicole L. Anderson, Esq., her counsel of record; and the
         other entities specified in Local Rule 9013-3(a).

         1.    Wells Fargo Bank, N.A. , by its undersigned attorneys, Schiller & Adam, P.A.,

hereby makes a motion for the relief requested below and gives notice of hearing.

         2.    The court will hold a hearing on this motion on March 12, 2015 at 2:00 P.M.,

Courtroom No. 8 West, at the United States Courthouse, 300 South Fourth Street, Minneapolis,

Minnesota 55415, or as soon thereafter as counsel may be heard, before The Honorable Robert J.

Kressel, United States Bankruptcy Judge.

         3.    Any response to this motion must be filed and served by delivery or by mail not

later than March 6, 2015, which is five days before the time set for the hearing (including

Saturdays, Sundays, and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS

TIMELY FILED, THE COURT MAY GRANT THE MOTION WITHOUT A HEARING.

         4.    This court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

1334, Fed. R. Bankr. P. 5005, and Local Rule 1070-1. This proceeding is a core proceeding.


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       5.      The petition commencing this chapter 7 case was filed on January 9, 2015. The

case is now pending in this court.

       6.      This motion arises under 11 U.S.C. § 362(d), and Fed. R. Bankr. P. 4001. This

motion is filed pursuant to Fed. R. Bankr. P. 9014, and Local Rules 9013-1 through 9013-3.

       7.      The Debtor, Julie A Holm, executed that certain promissory note (the “Debt

Agreement”), secured by that certain mortgage (the “Mortgage”), copies of which are attached as

Exhibits A and B, respectively, to the Unsworn Declaration in Support filed herewith. The Debt

Agreement is either made payable to the movant or has been duly endorsed. Movant, directly or

through an agent, has possession of the Debt Agreement. Movant is the original mortgagee,

beneficiary, or the assignee of the Mortgage.

       8.      The movant requests relief from the automatic stay of 11 U.S.C. § 362 with

respect to certain real property that is subject to a perfected security interest in favor of the

movant, as demonstrated by the terms of the Debt Agreement, and Mortgage.

       9.      Pursuant to the provisions of 11 U.S.C. § 362(d), the movant alleges that it is

entitled to relief from the automatic stay inasmuch as:

               a.     As of February 2, 2015, the Debtor is in default under the Debt Agreement

                       and Mortgage as a result of a failure to make payments in accordance

                       therewith.

               b.     The total amount of the mortgage default is $10,746.22.         A detailed

                       breakdown of this total amount can be found on the attached Local Form

                       4001-1.



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               c.     As of February 2, 2015, the amount due under said mortgage loan was

                      approximately $124,348.65.

               d.     According to the county tax records, the current tax-assessed value of the

                      property is estimated at $167,500.00. According to the Debtor, the fair

                      market value of the property is estimated at $120,000.00. Based upon the

                      information available to the movant, it estimates the fair market value of

                      the property to be $120,000.00.

               e.     Based upon the failure of the Debtor to make mortgage payments and the

                      lack of equity in the property, the movant’s interest in the property is not

                      adequately protected.

       10.    By reason of the foregoing, good cause exists to lift the automatic stay imposed by

11 U.S.C. § 362(a) to allow the movant to pursue its remedies under state law.




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       WHEREFORE, Wells Fargo Bank, N.A. , by its undersigned attorneys, requests that this

court grant an order pursuant to 11 U.S.C. § 362(d), terminating the automatic stay with respect

to the real property securing the movant’s claim so that the movant may pursue its rights under

its mortgage and applicable state law or, in the alternative, for such other and further relief as

may be just and equitable.

                                                    Respectfully submitted,

                                                    SCHILLER & ADAM, P.A.

Dated: February 11, 2015                         By: /e/ Samuel R. Coleman
                                                     Samuel R. Coleman (#389839)
                                                     Attorneys for Plaintiff
                                                     The Academy Professional Building
                                                     25 North Dale Street
                                                     St. Paul, MN 55102
                                                     Telephone: (651) 209-9785
                                                     Fax: (651) 292-9482
                                                     samuel@schillerandadam.com
                                                     (13-2863-BK03)




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                               Exhibit A
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                               Exhibit B
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                               Exhibit C
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  Property Account Summary
  Current General Information
  Property ID                                04-31-22-22-0078
  Situs Address                              831 ORANGE ST , LINO LAKES, MN 55014-0000
  Property Description                       LOTS 16 & 17 BLOCK 2 NORDIN MANOR, SUBJ TO EASE OF REC
  Last Sale Price
  Last Sale Date
   Last Sale Document Type
   Linked Property Group Position
   Status                                    Active
   Abstract/Torrens                          Abstract

  Parties
  Role                                       Name
  Owner                                      HOLM JULIE A

  Document Recording Process Dates
  Abstract Documents Have Been Recorded Through                                                                01/14/2015
   Abstract Documents Have Been Mailed Through                                                                 01/14/2015
   Torrens Documents Have Been Recorded Through                                                                01/13/2015
   Torrens Documents Have Been Mailed Through                                                                  01/13/2015

  Active Certificates Of Title
  Type             Certificate Number                                               Certificate Date
  No Certificates Found

  Documents Recorded Within 30 Days Of "Recorded Through" Dates Above
  Type     Abstract/Torrens                Recorded Number                                           Recorded Date
  No Documents Found

  Property Characteristics
  Lot Size                                                         S152*133
  Year Built                                                       1972
                      * Lot Size: Approximate lot size in feet, clockwise beginning with the direction the lot faces

  Tax District Information
  City Name                                                     LINO LAKES
  School District Number and Name                               FOREST LAKE SCHOOL DISTRICT #831
  Watershed                                                     RICE CREEK WATERSHED

  Property Classification
  Tax Year                       Classification
  2014                           1A-Residential Homestead
  2013                           1A-Residential Homestead

  Property Values
  Tax Year        Description                                                                                                  Amount
  2015            Est Market Land (MKLND)                                                                                      73,200
  2015            Est Market Improvement (MKIMP)                                                                               94,300
  2015            Taxable Market (TMTV)                                                                                       145,335
   2015               Est Market (MKTTL)                                                                                      167,500
   2015               Market Value Prior to Hstd Excl. (TMVP)                                                                 167,500




https://prtinfo.co.anoka.mn.us/(wlmxxmzx01bz40ifz2ykvrae)/result.aspx                                                         1/16/2015
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   2014              Taxable Market (TMTV)                                                                       135,634
   2014              Est Market (MKTTL)                                                                          158,600
   2014              Market Value Prior to Hstd Excl. (TMVP)                                                     158,600
   2013              Taxable Market (TMTV)                                                                       132,582
   2013              Est Market (MKTTL)                                                                          155,800
   2013              Market Value Prior to Hstd Excl. (TMVP)                                                     155,800

  Tax Amounts for M1PR
  Tax Year     Description                                                                                        Amount
  2014          Qualifying Tax Amount (Tax Bill Line 1)                                                          1,866.36
   2014           Prior Year Qualifying Tax Amount (Tax Bill Line 2)                                             1,864.02
   2014           Total Tax Amounts - Before Payments                                                            1,890.38
   2014           Special Assessments (Included in Total)                                                           24.02

  Payment History for Past Three Years
  Date Paid         Tax Year           Principal                         Interests, Penalties and Costs       Amount Paid
   10/06/2014          2014                  945.19                                               0.00            945.19
   05/01/2014          2014                  945.19                                               0.00            945.19
   10/11/2013          2013                  971.52                                               0.00            971.52
   05/15/2013          2013                  971.52                                               0.00            971.52
   09/27/2012          2012                  853.80                                               0.00            853.80
   05/07/2012          2012                  853.80                                               0.00            853.80




     No Charges are currently due.




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                                                   Version 1.0.4367.23769




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                               Exhibit D
                                                                                   Case
                                                                     B6A (Official Form 6A) 15-40068
                                                                                            (12/07)                Doc 9
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                                                                     IN RE Holm, Julie Ann                                                                                                   Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Debtor's homestead located at 831 Orange Street, Circle Pines, Fee Simple                                                                               120,000.00               121,488.25
                                                                     MN 55014 and legall y described as Lots 16 and 17, Block 2,
                                                                     Nordin Manor, Anoka County, State of Minnesota.
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                                                                     Parcel Id: 04-31-22-22-0078
                                                                     Value taken from a CMA
                                                                     Sheriff sale scheduled for January 16, 2015.




                                                                                                                                                                                      TOTAL                                  120,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
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                               Exhibit E
                                           Debtor(s): Julie Ann Holm
                                           Local Form 4001-1 Begin loan history from the date of the first default related to the current default amount that is claimed in the motion.
Desc Main




                                                                                                                                        Charges
                                                               Unapplied        Monthly Amount Due Monthly Amount Amount Due                  Amount Due
                                                 Date          Payments             Principal/Interest       Due Escrow        Late Fees     Other Charges*       Description of other Charges
                                           5/1/2014                            $                  787.82 $           260.27
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                                           5/16/2014                                                                         $       39.39
                                           6/1/2014                            $                  787.82 $           260.27
                                           6/16/2014                                                                         $       39.39
                                           7/1/2014                            $                  787.82 $           260.27
                                           7/16/2014                                                                         $       39.39
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                                           8/1/2014                            $                  787.82 $           260.27
                                           8/18/2014                                                                         $       39.39
                                           9/1/2014                            $                  787.82 $           278.23
                                           10/1/2014                           $                  787.82 $           278.23
                                           11/1/2014                           $                  787.82 $           278.23
                                           12/1/2014                           $                  787.82 $           278.23
                                           1/1/2015                            $                  787.82 $           278.23
 Document




                                           2/1/2015                            $                  787.82 $           278.23
                                           TOTALS          $0.00              $7,878.20                  $2,710.46          $157.56        $0.00
                                                                  (a)                      (b)                   (c)              (d)              (e)
                                                           * Any “Other Charge” must be described, itemized by amount and allowed under note and/or mortgage (e.g., inspection fee, appraisal fee,
                                                           insurance, taxes, etc.).
Doc 9




                                                           Note: Columns (b) + (c) + (d) + (e) – (a) must equal the current default amount that is claimed in the motion.
                                                           Attorney fees and filing fee for the motion if allowed under note and/or
Case 15-40068




                                                           mortgage and sought by Movant to resolve motion                                                $0.00
                                                           Current Default Amount Claimed in Motion                                                  $10,746.22
                                                           Escrow Balance (amounts held for payment of taxes, insurance etc.)                             $0.00
                                                           Suspense Account Balance (amount of unapplied payments)                                        $0.00
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                               Exhibit F
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                                        Exhibit F

                                Fee Breakdown Addendum

Description of Fee or Charge                        Date Incurred   Amount
Late Fee                                            5/16/2014       $39.39
Late Fee                                            6/16/2014       $39.39
Late Fee                                            7/16/2014       $39.39
Late Fee                                            8/18/2014       $39.39



Total Fees and Charges Due                                          $157.56




403-MN-V10                                  1
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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MINNESOTA


In re:                                            Bky. No.: 15-40068

Julie Ann Holm,                                   Chapter 7

                                Debtor.


                      MEMORANDUM OF LAW IN SUPPORT OF
                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY


                                   FACTUAL BACKGROUND

         The Debtor filed her petition on January 9, 2015 under Chapter 7 of Title 11 of the United

States Code and listed, in her schedules, real property located at 831 Orange Street, Lino Lakes,

MN 55014 in Anoka County, Minnesota, that is subject to a security interest held by the movant.

This real property is legally described as follows:

         Lots 16 and 17, Block 2, Nordin Manor, Anoka County, Minnesota,
         Anoka County, Minnesota.

         The amount due under the movant’s mortgage as of February 2, 2015 was approximately

$124,348.65. According to the county tax records, the current tax-assessed value of the property

is estimated at $167,500.00. According to the Debtor, the fair market value of the property is

estimated at $120,000.00. Based upon the information available to the movant, it estimates the

fair market value of the property to be $120,000.00. Based upon the failure of the Debtor to

make mortgage payments and the lack of equity in the property, the movant’s interest in the

property is not adequately protected. As of February 2, 2015, the Debtor has failed to make all


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payments required by the Debt Agreement and Mortgage and Debtor is in default. The total

amount of the mortgage default is $10,746.22. A detailed breakdown of this total amount can be

found on the attached Local Form 4001-1.

                                         ARGUMENT

I.      MOVANT IS ENTITLED TO RELIEF FROM STAY.

        As the Eighth Circuit Bankruptcy Appellate Panel stated in In re Martens,

               The statutory grounds [under 11 U.S.C. §§362(d)(1) and (2)] for
               granting relief from the automatic stay are in the disjunctive. The
               bankruptcy court must, therefore, grant relief if the movant either
               proves cause, or proves that there is no equity in the property and
               that it is not necessary for a successful reorganization. Cause has
               been defined to mean “any reason whereby a creditor is receiving
               less than his bargain from a debtor and is without remedy because
               of the bankruptcy proceeding.” A creditor is entitled to relief from
               the automatic stay if the debtor is not making mortgage payments,
               and if there is insufficient equity in the property to adequately
               protect the creditor.

In re Martens, 331 B.R. 395, 398 (8th Cir. B.A.P. 2005)(citations omitted). “The test for

determining equity under the first part of § 362(d)(2) involves comparison between the total liens

against the property and the property’s current value. … All encumbrances are totaled to

determine equity whether or not all lien-holders have requested relief from the stay.” In re

Bowman, 253 B.R. 233, 238 (8th Cir. B.A.P. 2000) (citations omitted). “Where there exists no

equity in the property that is the subject of a motion for relief from stay, it is incumbent upon a

debtor to make a showing that the property is necessary to an effective reorganization in order to

successfully defend against the motion.” In re Embassy Enterprises of St. Cloud, 125 B.R. 552,

554 (Bankr. D. Minn. 1991). Because a Chapter 7 bankruptcy is a liquidating case there is, by



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definition, no property of a Chapter 7 debtor that is necessary to an effective reorganization. See

In re Martens, 331 B.R. at 398.

       In the instant matter, the Debtor has failed to make payments as required under the Debt

Agreement and Mortgage. Further, there is insufficient equity in the property to adequately

protect movant. Because the Debtor has failed to make the payments due under the Mortgage,

and because there is not sufficient equity in the property to protect the movant’s interest, “cause”

exists within the meaning of § 362(d)(1) to grant relief from the automatic stay. Additionally,

because the Debtor does not have equity in the property and the property is not necessary to an

effective reorganization, grounds exist for granting relief from the automatic stay pursuant to §

362(d)(2). Accordingly, relief from stay is appropriate.

                                         CONCLUSION

       Based on the evidence submitted and the controlling law, the movant’s motion for relief

from the automatic stay should be granted.

                                                     Respectfully submitted,

                                                      SCHILLER & ADAM, P.A.

Dated: February 11, 2015                          By: /e/ Samuel R. Coleman
                                                      Samuel R. Coleman (#389839)
                                                      Attorneys for Plaintiff
                                                      The Academy Professional Building
                                                      25 North Dale Street
                                                      St. Paul, MN 55102
                                                      Telephone: (651) 209-9785
                                                      Fax: (651) 292-9482
                                                      samuel@schillerandadam.com
                                                      (13-2863-BK03)




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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MINNESOTA


In re:                                          Bky. No.: 15-40068

Julie Ann Holm,                                 Chapter 7

                              Debtor.


                  UNSWORN DECLARATION FOR PROOF OF SERVICE


       I, Samuel R. Coleman, an attorney licensed to practice law in this Court, with an office
address of The Academy Professional Building, 25 North Dale Street, St. Paul, MN 55102-2227
declare that on February 11, 2015, I caused the following documents:

Notice of Hearing and Motion,
Memorandum,
Unsworn Declaration,
and Proposed Order

to be filed electronically with the Clerk of the Bankruptcy Court through ECF, and that ECF will
send an e-notice of the electronic filing to the following:

Timothy D. Moratzka, Trustee
U.S. Trustee ustpregion12.mn.ecf@usdoj.gov, ecfbkup@comcast.net
Nicole L. Anderson, Esq., nicole@atlawhelp.com

I further declare that I caused a copy of the foregoing documents to be mailed to the following
non-ECF participants by enclosing in an envelope and mailed by First Class Mail with postage
prepaid and depositing same in the post office at St. Paul, Minnesota:

Julie Ann Holm
831 Orange Street,
Lino Lakes, MN 55014




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      And I declare, under penalty of perjury, that the foregoing is true and correct.

                                                     Respectfully submitted,

                                                    SCHILLER & ADAM, P.A.

Dated: February 11, 2015                        By: /e/ Samuel R. Coleman
                                                    Samuel R. Coleman (#389839)
                                                    Attorneys for Plaintiff
                                                    The Academy Professional Building
                                                    25 North Dale Street
                                                    St. Paul, MN 55102
                                                    Telephone: (651) 209-9785
                                                    Fax: (651) 292-9482
                                                    samuel@schillerandadam.com
                                                    (13-2863-BK03)




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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MINNESOTA


In re:                                               Bky. No.: 15-40068

Julie Ann Holm,                                      Chapter 7

                                  Debtor.


                          ORDER TERMINATING AUTOMATIC STAY


         This case came before the court on the motion of Wells Fargo Bank, N.A. for relief from

the automatic stay pursuant to 11 U.S.C. § 362(a).

         Based on the record, the court finds that grounds exist under 11 U.S.C. § 362(d) to

warrant relief.

         IT IS ORDERED:

         1.       The motion for relief from stay is granted as follows.




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       2.     The automatic stay imposed by 11 U.S.C. § 362(a) is terminated such that the

movant may exercise its rights and remedies under applicable nonbankruptcy law with respect to

the following property:

       Lots 16 and 17, Block 2, Nordin Manor, Anoka County, Minnesota,
       Anoka County, Minnesota.
       Subject to that certain mortgage dated October 14, 2005, and recorded in the Office of the
       Anoka County Recorder on October 27, 2005, as Document Number 1979309.007.

       3.     Notwithstanding Fed. R. Bankr. P. 4001(a)(3), this order is effective immediately.


DATED:                                              ______________________________
                                                    Robert J. Kressel
                                                    United States Bankruptcy Judge




                                               2
